50 F.3d 6
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Winston LLOYD, Plaintiff--Appellant,v.Vivian JENKINS, Clerk of the Circuit Court P.G. County;Mary Rose, Clerk of Circuit Court Anne ArundelCounty;  Barbara M. Hantske, Director ofAssignment Anne ArundelCounty, Defendants--Appellees.
    No. 94-7265.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 19, 1995.Decided:  Feb. 17, 1995.
    
      Winston Lloyd, Appellant Pro Se.  Julia Melville Freit, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, MD, for Appellees.
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Lloyd v. Jenkins, No. CA-94-912-B (D. Md. Oct. 13, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    